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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

                          CR. NO. 20-150(1) (NEB/BRT)


UNITED STATES OF AMERICA,

                   Plaintiff,
                                                   MOTION TO RETAIN
v.                                                 ROUGH NOTES


GREGORY LYNN MCCOY,

                   Defendant.


      Defendant, by and through his attorney, respectfully moves the Court for

an Order requiring all law enforcement personnel who have worked on this case

to preserve and to continue to preserve all notes and memoranda originally

prepared by them, regardless of the condition of those notes and regardless of

whether those notes have been incorporated into other reports or memoranda

that the government intends to turn over to the defendants. Depending on their

contents, these rough notes may qualify as Brady or Jencks Act material at trial.

      WHEREFORE, Defendant prays that this Court enter an Order requiring

law enforcement personnel to preserve and maintain all rough notes relating to

this matter.
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                                  Respectfully submitted,


Dated: August 24, 2020            /s/ Kevin O’Brien
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                                  Attorney for Defendant
